                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

In re:                                        §              Case No. 23-51742-cag
CINCH WIRELINE SERVICES, LLC                  §
              Debtor                          §              Chapter 7
_______________________________________       § ________________________________________
JOHN PATRICK LOWE, CHAPTER 7                  §
TRUSTEE FOR CINCH WIRELINE                    §
SERVICES, LLC                                 §
              Plaintiff                       §
                                              §             Adversary 24-05011-cag
v.                                            §
                                              §
CINCH ENERGY SERVICES, LLC;                   §
CINCH INVESTMENT HOLDINGS, LLC;               §
CES GROUP HOLDINGS, LLC; HOOK N               §
BULL PROPERTIES, LLC; LOS CABOS               §
RANCH, LLC; FTS RANCH, LLC; FTSJR             §
HOLDINGS, LLC; WFO HOMES, LLC;                §
TEXAS COAST BUILDERS, LLC; 17                 §
MAIN, LLC; GRANDER HOLDINGS,                  §
LLC; WFO, LLC; PONDER RANCH,                  §
LLC; BL EQUITY HOLDINGS,                      §
LLC; OCEAN FLOOR HOLDINGS, LLC;               §
FRANK THOMAS SHUMATE; MARK                    §
LOPEZ; LORETTA L. HIGGINS;                    §
TIMOTHY GAINES POLLARD; JERRY                 §
MILLER and such other yet unknown             §
Defendants (“JOHN DOE DEFENDANTS”)            §
               Defendants                     §
                                              §

                         WITNESS AND EXHIBIT LIST OF
                    JOHN PATRICK LOWE, CHAPTER 7 TRUSTEE

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       NOW COMES John Patrick Lowe, Trustee (“Trustee”), the duly appointed and acting Chapter

7 Trustee in the above-captioned bankruptcy case, and hereby files its Witness and Exhibit List to

be used in connection with the Wednesday, August 14, 2024, hearing on Trustee’s Motion to

Enforce Subpoena Duces Tecum to David Arnold and D.E. Web Works, LLC (Dkt#192). Trustee

may call the following witnesses and offer the following exhibits:


                                                  1
                                     LIST OF WITNESSES

         1. David Arnold

         2. Any witness called by any other creditor, any other party in interest that may appear
            and seek to be heard at the hearing, and any rebuttal witness as may be required.

         3. Any rebuttal witnesses necessary.

                                        LIST OF EXHIBITS

 Ex. #                    Description                   Offered   Objection Admitted/ Disposition
                                                                            Not
                                                                            Admitted
 1.       Subpoena Duces Tecum to David Arnold
          with the Declaration of Mailing [Judicial
          Notice #192-Exhibit A]
 2.       Subpoena Duces Tecum to D.E. Web
          Works with the Declaration of Mailing
          [Judicial Notice #192-Exhibit B]
 3.       D.E. Web Works Invoice [Judicial Notice
          #192-Exhibit C]
 4.       David Arnold Email Chain [Judicial
          Notice #192-Exhibit D]
 5.       LOR/Litigation Hold Letter directed to
          D.E. Web Works and David Arnold
          [Judicial Notice #192-Exhibit E]
 6.       Transcript excerpt from Rule 2004
          Examination of Brian Birdwell
 7.       Transcript excerpt from Rule 2004
          Examination of Michael Mixon
          Any exhibit identified, introduced,
          designated or relied upon by any other
          party.
          Any exhibits necessary for rebuttal or
          impeachment purposes.

       The Trustee reserves the right to amend this Exhibit List and to introduce other exhibits as may
be necessary for impeachment purposes. The Trustee also reserves the right to introduce exhibits
designated by opposing counsel.

Dated: August 9, 2024
                                                Respectfully submitted,

                                                /s/ Butch Boyd
                                                Butch Boyd

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State Bar No. 00783694
Butch Boyd Law Firm, P.C.
2905 Sackett Street
Houston, TX 77098
Phone: (713) 589-8477
Fax: (713)589-8563
Email: butchboyd@butchboydlawfirm.com
copy to: katrinaboyd@butchboydlawfirm.com

/s/ Shelby A. Jordan
Shelby A. Jordan
St. Bar No. 11016700; S.D. No. 2195
Antonio Ortiz
St. Bar No. 24074839; SD. No. 1127322
JORDAN& ORTIZ, P.C.
500 N. Shoreline Blvd, Suite 804
Corpus Christi, TX 78401
Telephone:      361.884.5678
Facsimile:      361.888.5555
Email: sjordan@jhwclaw.com
        aortiz@jhwclaw.com
copy to: cmadden@jhwclaw.com

SPECIAL COUNSEL FOR JOHN PATRICK
LOWE, CHAPTER 7 TRUSTEE




  3
                                  CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the Witness and Exhibit List was served to the below
by the CM/ECF system or by electronic mail on August 9, 2024:

  Butch Boyd
  Butch Boyd Law Firm, P.C.
  2905 Sackett Street                                      John Patrick Lowe, Chapter 7
  Houston, TX 77098                                        Trustee for Cinch Wireline
                                              representing
  713-589-8477                                             Services, LLC
  713-589-8563 (fax)                                       (Plaintiff)
  butchboyd@butchboydlawfirm.com
   Assigned: 07/18/2024

  Gabi S Canales
  Canales Law Office
  5262 S Staples St.
  Suite 100
                                                             Michael Mendietta
  Corpus Christi, TX 78411                    representing
                                                             (Interested Party)
  361-887-4700
  361-887-4761 (fax)
  gabilaw14@gmail.com
   Assigned: 05/14/2024

  Mitchell Clark
  Law Offices of J. Mitchell Clark
  719 S. Shoreline Boulevard
  Corpus Christi, TX 78401                                   Justin Sprencel
                                              representing
  361-882-1612                                               (Interested Party)
  361-882-3015 (fax)
  mitchell@hilliard-law.com
   Assigned: 07/22/2024

  Jason Alexander Enright
  Winstead PC
  500 Winstead Building
  2728 N. Harwood Street
                                                             Simmons Bank
  Dallas, TX 75201                            representing
                                                             (Interested Party)
  214-745-5844
  214-745-5390 (fax)
  jenright@winstead.com
    Assigned: 07/25/2024

  Richard L. Fuqua                                         Loretta L. Higgins
  Fuqua & Associates, PC                                   24030 Tirso River Court
                                              representing
  8558 Katy Freeway                                        Katy, TX 77493
  Suite 119                                                (Defendant)


                                                 4
77024
Houston, TX 77024
713-960-0277
713-960-1064 (fax)
fuqua@fuqualegal.com
 Assigned: 05/28/2024

R. Javier Guerra
Ray Pena McChristian, PC
9601 McAllister Freeway, Suite 901                 Jerry Miller
San Antonio, TX 78216                              137 W. Chandler Road
                                      representing
(210) 775-3554                                     Sarita, TX 78385
(210) 341-3557 (fax)                               (Defendant)
jguerra@raylaw.com
 Assigned: 05/20/2024

Aaron Matthew Guerrero
Bond Ellis Eppich Schafer Jones LLP
                                                   17 Main, LLC
950 Echo Lane
                                                   c/o Daniel Namvar, Registered
Suite 120
                                                   Agent
Houston, TX 77024                     representing
                                                   9135 Hillsboro Dr
713-335-4838
                                                   Los Angeles, CA 90034
832-740-1411 (fax)
                                                   (Defendant)
aaron.guerrero@bondsellis.com
 Assigned: 04/26/2024

Charles A. Newton
Newtons Law
190 N. Millport Circle                             Mark Lopez
The Woodlands, TX 77382                            52 County Road 2011
                                      representing
281-681-1170                                       Edna, TX 77957
281-901-5631 (fax)                                 (Defendant)
chuck@newtons.law
 Assigned: 05/02/2024

 Assigned: 05/13/2024                              Los Cabos Ranch, LLC
                                                   c/o Paul S Kirklin, Registered
                                                   Agent
                                      representing 12600 N. Featherwood Drive, Suite
                                                   225,
                                                   Houston, TX 77034
                                                   (Defendant)

Paul W. O'Finan                                    Frank Thomas Shumate
S M Chaudhry, Esq., Attorney at Law   representing 6118 King Trail
PLLC                                               Corpus Christi, TX 78414


                                         5
14100 San Pedro Ave, Suite 210                (Defendant)
San Antonio, TX 78232
(210) 646-9400
(210) 646-0038 (fax)
paul@smcesq.com
 Assigned: 04/24/2024
  TERMINATED: 06/27/2024

 Assigned: 05/08/2024                         Timothy Gaines Pollard
                                              2200 County Road 413
                                 representing
                                              McCoy, TX 78113
                                              (Defendant)

                                              WFO Homes, LLC
                                              c/o Tim Pollard, Registered Agent
                                              146 Motts Parkway
                                              Marion, TX 78124
                                              (Defendant)

                                              WFO, LLC
                                              c/o Tim Pollard, Registered Agent
                                              146 Motts Parkway
                                              Marion, TX 78124
                                              (Defendant)

 Assigned: 05/08/2024                         BL Equity Holdings, LLC
                                              c/o A Registered Agent, Inc
                                 representing 8 The Green, Suite A
                                              Dover, DE 19901
                                              (Defendant)

 Assigned: 05/08/2024                         CES Group Holdings, LLC
 TERMINATED: 06/27/2024                       c/o Frank T. Shumate, Registered
                                              Agent
                                 representing
                                              2200 County Road 413
                                              McCoy, TX 78113
                                              (Defendant)

                                              Cinch Energy Services, LLC
                                              Mark Lopez, Registered Agent
                                              1102 S. Second
                                              Ganado, TX 77962
                                              (Defendant)

                                              Cinch Investment Holdings, LLC
                                              2200 County Road 413
                                              McCoy, TX 78113

                                    6
    (Defendant)

    FTS Ranch, LLC
    c/o Frank T Shumate Jr., Registered
    Agent
    2200 County Road 413
    McCoy, TX 78113
    (Defendant)

    FTSJR Holdings, LLC
    c/o Frank T Shumate, Jr.,
    Registered Agent
    2200 County Road 413
    McCoy, TX 78113
    (Defendant)

    Grander Holdings, LLC
    c/o Frank T Shumate Jr., Registered
    Agent
    2200 County Road 413
    McCoy, TX 78113
    (Defendant)

    Hook N Bull Properties, LLC
    c/o Frank T. Shumate, Jr.
    Registered Agent
    2200 County Road 413
    McCoy, TX 78113
    (Defendant)

    Ocean Floor Holdings, LLC
    c/o A Registered Agent, Inc.
    8 The Green, Suite A
    Dover, DE 19901
    (Defendant)

    Ponder Ranch, LLC
    c/o Frank T Shumate Jr., Registered
    Agent
    2200 County Road 413
    McCoy, TX 78113
    (Defendant)

    Texas Coast Builders, LLC
    c/o Frank T Shumate Jr., Registered
    Agent
    2200 County Road 413

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                                                McCoy, TX 78113
                                                (Defendant)

Jameson Joseph Watts
Husch Blackwell LLP
                                                CES Group Holdings, LLC
111 Congress
                                                c/o Frank T. Shumate, Registered
Suite 1400
                                                Agent
Austin, TX 78701                   representing
                                                2200 County Road 413
512-479-1179
                                                McCoy, TX 78113
512-479-1101 (fax)
                                                (Defendant)
jameson.watts@huschblackwell.com
  Assigned: 06/03/2024

                                                Cinch Energy Services, LLC
                                                Mark Lopez, Registered Agent
                                                1102 S. Second
                                                Ganado, TX 77962
                                                (Defendant)

                                                Cinch Investment Holdings, LLC
                                                2200 County Road 413
                                                McCoy, TX 78113
                                                (Defendant)

                                                FTS Ranch, LLC
                                                c/o Frank T Shumate Jr., Registered
                                                Agent
                                                2200 County Road 413
                                                McCoy, TX 78113
                                                (Defendant)

                                                FTSJR Holdings, LLC
                                                c/o Frank T Shumate, Jr.,
                                                Registered Agent
                                                2200 County Road 413
                                                McCoy, TX 78113
                                                (Defendant)

                                                Frank Thomas Shumate
                                                6118 King Trail
                                                Corpus Christi, TX 78414
                                                (Defendant)

                                                Grander Holdings, LLC
                                                c/o Frank T Shumate Jr., Registered
                                                Agent
                                                2200 County Road 413

                                      8
          McCoy, TX 78113
          (Defendant)

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          c/o Frank T. Shumate, Jr.,
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          2200 County Road 413
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          c/o A Registered Agent, Inc.
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          Dover, DE 19901
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          c/o Frank T Shumate Jr., Registered
          Agent
          2200 County Road 413
          McCoy, TX 78113
          (Defendant)

          Texas Coast Builders, LLC
          c/o Frank T Shumate Jr., Registered
          Agent
          2200 County Road 413
          McCoy, TX 78113
          (Defendant)

          WFO Homes, LLC
          c/o Tim Pollard, Registered Agent
          146 Motts Parkway
          Marion, TX 78124
          (Defendant)


    /s/ Butch Boyd
    Butch Boyd




9
